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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF ARKANSAS
                             WESTERN DIVISION

UNITED STATES OF AMERICA                                                       PLAINTIFF

v.                          CASE NO. 4:12CR00064-5 BSM

LISA JO HUNT                                                                 DEFENDANT

                                          ORDER

       The government’s second motion to revoke defendant Lisa Jo Hunt’s pretrial release

[Doc. No. 189] is denied because the case is presently set for trial on June 17, 2013.

Additionally, Hunt is scheduled to enter a plea of guilty to the second superseding indictment

[Doc. No. 112] on June 7, 2013, and will likely be placed in custody after entering her plea

should she choose to forego a trial.

       IT IS SO ORDERED this 28th day of May 2013.


                                                   ________________________________
                                                   UNITED STATES DISTRICT JUDGE
